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IN THE UNITED sTATEs DISTRICT cOURT F&EDEH'».
FOR THE wEsTBRN DISTRICT OF TENNESSEE
wEsTERN DIvIsION

 

 

UNITED STATES OF AMERICA
Plaintiff,

Criminal NoQ/QJ’- Z:WQQ’ Ml

(GO-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
he continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m- on Fridav, JulV 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27th day of May, 2005.

` 'ance
Th'cs document entered on the docket sheet \zn cojnp\\

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50 ORDERED this 27th day of May, 2005.

Q./MQQ

PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

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Assistant United States Attorney

 

 

 

 

 

 

Counsel for D§fendant(s)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20109 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

